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              EXHIBIT B
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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA

                                    Case No.: 1:23-CV-23933-FAM

      SUCESIÓN SIMON DIAZ MARQUEZ,

              Plaintiff,
      v.

      MIAMI FINE FOODS, LLC and AVI ASSOR,

              Defendants.
                                                      /

                                   DECLARATION OF AVI ASSOR

              I, Avi Assor, declare under penalty of perjury as follows:

           1. I am the President of Defendant/Counter-Plaintiff Miami Fine Foods, LLC

           (“MFF”). I am over eighteen years of age, have personal knowledge of the facts and

           statements contained in this declaration, and I declare under penalty of perjury that

           the following is true and correct.

           2. This Declaration is submitted in support of MFF’s Motion for Order Authorizing

           Alternative Service of Process on Third Party Defendant Bettsymar Diaz (“Diaz”).

           3. In conducting research to identify Diaz’s U.S. address(es), my transactional

           counsel Ivania Oberti, Esq. and I located four addresses through corporate records

           filed with the Florida Department of State, Division of Corporations. True and correct

           copies are attached hereto as Exhibit 1.

           4. Although MFF has been diligent in its attempts to serve Diaz, including

           requesting that the Estate’s counsel accept service on behalf of Diaz, MFF is not
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         confident that it will be able to locate Diaz for personal service. To date, counsel for

         Plaintiff/Counter-Defendant Sucesión Simon Diaz Marquez (the “Estate”) has refused

         to accept service on behalf of Diaz.

         5. Alternate service by email is appropriate and necessary in this case, because Diaz:

         (1) operates via the Internet; and (2) clearly relies on electronic communications as a

         reliable form of contact to operate the Estate’s business.

         6.   MFF has the ability to contact Diaz directly and provide notice of MFF’s claims

         against Diaz electronically via email to Diaz’s known email addresses. Diaz, through

         the Estate, identifies her contact information as bettsimar.diaz@gmail.com on the

         Facebook page for Simon Diaz, located at https://www.facebook.com/tiosimondiaz?

         locale=fi_FI. True and correct copies of the webpages are attached hereto as Exhibit

         2.

         7. Absent the ability to serve Diaz electronically, MFF will almost certainly be left

         without the ability to pursue a remedy.

              I declare under penalty of perjury under the laws of the United States and the

      State of Florida that the foregoing is true and correct.




                     Avi Assor

      DATED: January 18, 2024




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2019 FLORIDA LIMITED LIABILITY COMPANY REINSTATEMENT                 FILED
DOCUMENT# L15000075716                                            Feb 20, 2019
Entity Name: CALIDOS PRODUCCIONES ARTISTICAS, LLC              Secretary of State
                                                                6041195470CR
Current Principal Place of Business:
4708 NW 114TH AVE
 UNIT 101
MIAMI, FL 33178


Current Mailing Address:
4708 NW 114TH AVE
UNIT 101
MIAMI, FL 33178 US

FEI Number: XX-XXXXXXX                                                                                                      Certificate of Status Desired: Yes
Name and Address of Current Registered Agent:
DIAZ, BETTSYMAR C
1622 BAY ROAD
 APT 101
MIAMI BEACH, FL 33139 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE: BETTSYMAR DIAZ                                                                                                                                                 02/20/2019
                         Electronic Signature of Registered Agent                                                                                                                Date

Authorized Person(s) Detail :
Title                  MGRM                                                                           Title                  MGRM
Name                   DIAZ, BETTSYMAR C                                                              Name                   URDANETA, CLAUDIA
Address                1622 BAY ROAD                                                                  Address                1622 BAY ROAD
                       APT 101                                                                                                APT 101
City-State-Zip:        MIAMI BEACH FL 33139                                                           City-State-Zip:        MIAMI BEACH FL 33139




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am a managing member or manager of the limited liability company or the receiver or trustee empowered to execute this report as required by Chapter 605, Florida Statutes; and
that my name appears above, or on an attachment with all other like empowered.

SIGNATURE: BETTSYMAR C DIAZ                                                                                            MANAGING DIRECTOR                                  02/20/2019
                        Electronic Signature of Signing Authorized Person(s) Detail                                                                                             Date
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